Ross & Asmar LLC,
             CaseAttorneys at Law
                  1:15-cv-06127-ER Document 58-1 Filed 10/12/18 Page 1 of 5
499 Seventh Avenue
23rd Floor, South Tower
New York, NY 10018


Invoice submitted to:
Mauricio Perez




            Invoice Date
          October 12, 2018




            Professional Services

                                                             Hours

  5/29/2015 SR      Conference with client                    1.50   $600.00
                    Conference with client, research Defs,
                    prelim investig, prelim calc damages

   6/2/2015 SR      Research                                  1.00   $400.00
                    Research re Defs

  7/23/2015 ED      Draft                                     0.35   $105.00
                    Draft Complaint

  7/26/2015 SR      Review                                    1.40   $560.00
                    Review and revise complaint, analyze
                    damages,

  7/27/2015 ED      Draft                                     1.25   $375.00
                    Draft Complaint

   8/4/2015 ED      Revise                                    0.80   $240.00
                    Revise and file initiating docs

  8/10/2015 ED      Draft                                     0.50   $125.00
                    Draft Affidavits of Service

  8/11/2015 ED      File                                      0.25    $75.00
                    File Service Affidavits

  2/14/2016 SR      Draft                                     1.50   $600.00
                    review and revise disclosures
                 Case 1:15-cv-06127-ER Document 58-1 Filed 10/12/18 Page 2 of 5



Mauricio Perez                                                                    Page   2



                                                         Hours

  2/15/2016 ED    Draft                                   0.32    $95.00
                  Draft Initial Disclosures

  2/23/2016 ED    Court Appearance                        1.20   $360.00
                  Court Appearance Conf

            ED    Court Appearance                        0.50   $150.00
                  Court Appearance: Initial Conference

  4/14/2016 ED    Draft                                   1.00   $300.00
                  Draft Rule 26a Statement and
                  Document Demand

            SR    Review                                  0.90   $360.00
                  Review and revise R 26

  4/15/2016 ED    Draft                                   0.42   $125.00
                  Draft Interrogatories

            ED    Preparation                             1.18   $355.00
                  Calculate damages

            SR    Review                                  1.00   $400.00
                  Review and revise damages and
                  demands

  5/18/2016 ED    Review                                  0.23    $70.00
                  Review Defendants' responses to
                  demands

  5/19/2016 SR    Review                                  0.80   $320.00
                  Review docs from Def and responses

  6/16/2016 ED    Draft                                   0.18    $55.00
                  Draft and File Notice of Depositions

  6/20/2016 ED    Telephone call with opposing Attorn     0.50   $150.00
                  Telephone call with opposing
                  Attorney: Conference Call

  6/21/2016 SR    Draft                                   0.80   $280.00
                  Draft corr re discovery

  6/28/2016 ED    Draft                                   1.07   $320.00
                  Draft corr to Court

   7/6/2016 ED    Legal Research                          0.45   $135.00
                  Legal Research re Leave to Amend
                 Case 1:15-cv-06127-ER Document 58-1 Filed 10/12/18 Page 3 of 5



Mauricio Perez                                                                    Page   3



                                                         Hours

   7/7/2016 SR    Conference with client                  0.40   $160.00
                  Conference with Ct

            SR    Research                                0.80   $320.00
                  Research in Preparation for Ct Conf,
                  re calc damages

  7/13/2016 ED    Draft                                   0.53   $160.00
                  Draft Amended Discovery Demands

  7/14/2016 SR    Draft                                   1.50   $600.00
                  Draft amended demands

            SR    Draft                                   0.60   $240.00
                  Draft demands (amended)

  7/15/2016 ED    Draft                                   0.75   $225.00
                  Draft Amended Complaint

  7/20/2016 SR    Research                                1.00   $400.00
                  Research motion to amend

  7/21/2016 SR    Draft                                   2.00   $800.00
                  Draft motion to amend complaint

            ED    Draft                                   1.35   $405.00
                  Draft Motion to Amend Complaint and
                  add party

 11/30/2016 ED    Review                                  0.33   $100.00
                  Review decision on motion to amend
                  answer

  12/2/2016 ED    File                                    0.17    $50.00
                  File Amended Complaint

   1/5/2017 ED    Review                                  0.25    $75.00
                  Review Answer to Amended
                  Complaint

  7/23/2017 SR    Conference with client                  1.20   $480.00
                  Conference with client, conf ED re
                  damages

   2/1/2018 ED    Draft                                   0.20    $60.00
                  Draft and file letter motion for
                  conference
                 Case 1:15-cv-06127-ER Document 58-1 Filed 10/12/18 Page 4 of 5



Mauricio Perez                                                                    Page   4



                                                              Hours

  4/12/2018 ED    Review                                       0.58   $175.00
                  Review file before court appearance

  4/13/2018 ED    Court Appearance                             0.52   $155.00
                  Teleconference

  5/11/2018 ED    Court Appearance                             0.52   $155.00
                  Court Appearance: Teleconference

   6/1/2018 ED    Review                                       0.67   $200.00
                  Review Defendants' damage
                  calculations

   6/2/2018 SR    Review                                       0.70   $280.00
                  Review and conf re damages and
                  settle offer, conf client

   6/4/2018 ED    Telephone call with opposing Attorn          0.20    $60.00
                  Telephone call with opposing Attorney

            ED    Telephone call with opposing Attorn          0.17    $50.00
                  Conference call with OC and Court

  6/15/2018 ED    Telephone call with opposing Attorn          0.13    $40.00
                  Teleconference with OC and Court

  6/22/2018 ED    Draft                                        0.23    $70.00
                  Draft and file status letter to the Court

  6/28/2018 ED    Draft                                        0.25    $75.00
                  Draft and file letter motion for
                  adjournment

   7/6/2018 ED    Telephone call with opposing Attorn          0.17    $50.00
                  Telephone call with opposing Attorney

            ED    Draft                                        0.17    $50.00
                  Draft and file status letter

  7/13/2018 ED    Draft                                        1.43   $430.00
                  Draft Settlement Agreement

            ED    Draft                                        0.30    $90.00
                  Draft and file status letter

  8/30/2018 ED    Court Appearance                             1.50   $450.00
                  Court Appearance: Status
                  Conference + travel
                 Case 1:15-cv-06127-ER Document 58-1 Filed 10/12/18 Page 5 of 5



Mauricio Perez                                                                    Page       5



                                                      Hours

  9/21/2018 ED     Draft                               0.20      $60.00
                   Draft and file letter motion for
                   extension

            ED     Draft                               0.57     $170.00
                   Draft Fairness letter and Cheeks
                   materials

            SR     Review                              0.40     $160.00
                   Review and revise fairness corr

 10/10/2018 ED     Draft                               0.70     $210.00
                   Draft Fairness letter and Cheeks
                   materials

            For professional services rendered                    39.59           $13,560.00

            Additional Charges :

                                                                                   Qty/Price

   8/4/2015 ED     Filing Fee                                                             1
                   Complaint                                                         400.00

  8/10/2015 ED     Service Fee                                                               1
                   Service Fee                                                           85.00

            Total additional charges                                                 $485.00


            Total amount of this bill                                             $14,045.00


            Balance due                                                           $14,045.00
